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                    IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF MARYLAND

FREDDY FAMBA                            *
1201 Ward Street                        *
Baltimore, Maryland, 21230              *
                                        *
       Plaintiff,                       *
                                        *
       vs.                              *
                                        *
                                        *                   Case No.: _________________
RITE AID OF MARYLAND, INC               *
2405 York Road., Suite 201              *
Lutherville Timonium, Maryland, 21093   *
                                        *
Served on:                              *
Resident Agent                          *
THE CORPORATION TRUST INCORPORATED *
2405 York Road, Suite 201               *
Lutherville Timonium, Maryland, 21093   *
                                        *
       Defendant.                       *
                                        *
*      *       *     *      *      *  * *                   *      *       *      *       *     *

                              COMPLAINT & JURY DEMAND

       NOW COMES, plaintiff Freddy Famba, by and through his undersigned attorneys, George

A. Rose, Esquire, and Rose Law Firm, LLC, and files this complaint & jury demand against the

aforementioned defendant, and in support thereof states:

                               I. PRELIMINARY STATEMENT

        1.      This is action for declaratory, injunctive, monetary and other appropriate relief

against defendant, Rite Aid of Maryland, Inc. The plaintiff, Mr. Freddy Famba, seek to redress

intentional violations by Defendant of rights secured to him by the laws of the United States and

the statutory and/or common law of the State of Maryland. This action arises under, Title I of the




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Americans with Disabilities Act, as amended, 42 U.S.C.A §§ 12101 et seq. ("ADA"), and Title 20

of Maryland’s State Government Article (“Title 20”).

                                                     II. PARTIES

        2.      At all times relevant hereto, plaintiff Mr. Freddy Famba (hereinafter “Plaintiff” or

“Mr. Famba”) is a person residing at 1201 Ward Street, Baltimore, Maryland 21230, and has been

a resident of the State of Maryland.

        3.      At all times relevant hereto, Defendant Rite Aid of Maryland, Inc., (hereinafter

“Defendant”), is a corporation, incorporated in the State of Maryland, with its principal office at

2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093. Defendant is engaged in the

business of operating pharmacies and convenient stores throughout Maryland.

                                        III.     JURISDICTION

        4.      Jurisdiction is conferred upon this Court by 28 U.S.C. § 1331, 42 U.S.C. § 12117,

and 29 U.S.C. § 1132(e), all of which provide for original jurisdiction of plaintiff's claims arising

under the laws of the United States and over actions to secure equitable and other relief.

        5.      This Court has jurisdiction over Plaintiff’s claims under the statutory laws of the

State of Maryland pursuant to its supplemental jurisdiction as codified at 28 U.S.C. § 1367.

                                               IV.       VENUE

        6.      Venue is proper in this district under 28 U.S.C. §1391(a)(2), and §1391(b)(2)

because Defendant is located in this district and the events or omissions giving rise to this claim

occurred in this district. Also, venue is proper in this district because the alleged unlawful

employment practices were committed in this district, the employment records relevant to the

alleged unlawful employment practices are maintained and administered in this district, and

Defendant has its principal office in this district.



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                    V.     EXHAUSTION OF ADMINISTRATIVE REMEDIES

       7.      On or about January 23, 2018, Mr. Famba filed a Charge of Discrimination against

Defendant with the U.S. Equal Employment Opportunity Commission (EEOC). On or about

September 19, 2018, Mr. Famba received a Notice of Right To Sue letter from the EEOC Mr.

Famba has, therefore, exhausted his administrative remedies and has complied with all conditions

precedent to maintaining this action.

              VI.        FACTUAL ALLEGATIONS PERTINENT TO ALL COUNTS

       8.      In 2002 Rite Aid hired Mr. Freddy Famba as a stocker. Throughout his

employment, Mr. Famba has performed his duties and assignments as a stocker satisfactorily.

       9.      On or about June 10, 2017, Mr. Famba became seriously and suddenly ill with

“Acute Cholecystitis complicated by an ileas.” Mr. Famba required urgent surgery to treat the

condition. Mr. Famba immediately communicated this to Rite Aid and submitted a request for

leave from his employment pursuant to the FMLA. Mr. Famba’ s FMLA request was approved

from June 12, 2017 through to July 14, 2017.

       10.     After Mr. Famba completed surgery and was discharged from the hospital on June

23, 2017, his doctors or medical services providers determined that Mr. Famba would need some

time for post-operative treatment and healing. Consequently, Mr. Famba requested or applied for

additional leave of absence and/or non-FMLA medical leave, which was approved by Rite Aid

from July 14, 2017 through to September 11, 2017.

       11.     On September 12, 2017, Mr. Famba returned to work. Upon returning to work, Mr.

Famba presented a required Rite Aid RTW Assessment Form, (hereinafter “RTWAF”). The form

indicated that Mr. Famba was medically cleared to return to work with restrictions of “no lifting

greater than 40lbs for 4 weeks with full clearance expected 10/12/17.” The RTWAF was reviewed



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and signed by Mr. Famba’ s supervisor, Antione Nelson, who promptly assigned Mr. Famba to

work in an area called “RX”, a unit in the replenishment department where Mr. Famba was a

stocker and forklift driver. Within two hours of working in the RX area, lifting boxes or other

heavy objects, Mr. Famba began feeling pain to his suture site and having shortness of breath. Mr.

Famba alerted his supervisors and was sent off work to the hospital. Mr. Famba was seen by

clinicians at UMH-Adult ER Department for Right upper quadrant abdominal pain. He was given

clearance to return to work, September 14, 2017 with restrictions of no lifting greater than 10lbs

& light duty until September 28, 2017.

       12.     On September 14, 2017, Mr. Famba returned to work with medical clearance to

work with restrictions of “no lifting greater than 10lbs & light duty until September 28, 2017”.

However, when Mr. Famba presented his return to work clearance, he was immediately told by his

superior that he would not be able to return to work with any restrictions. Consequently, Mr. Famba

was forced to request leave of absence. On October 6, 2017 Mr. Famba was referred for therapy

by Dr. Jose Diaz, MD, who diagnose Mr. Famba with “acute postprocedural pain; strain of muscle,

fascia and tendon of abdomen subsequent encounter.”

       13.     On October 10, 2017, Mr. Famba was medically cleared to return to work on

October 12, 2017, with a “six (6) weeks restriction until 12/12/17”. The restriction stated, “no

heaving lifting more than 35lbs; increase rest; breaks, compensation”. Mr. Famba returned to work

on October 12, 2017 and presented his medical clearance with work restrictions to his superiors.

However, his superiors refused and denied Mr. Famba the opportunity to return to work, stating

that he would not be assigned to work until he is cleared for work without any restrictions.

       14.     On December 12, 2017 Mr. Famba was medically cleared to return to work. Mr.

Famba’s doctor did not clear Mr. Famba to return to work without medical restrictions, because



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Mr. Famba was never allowed to return to work on the prior attempts and his doctor could not

assess or evaluate his post-surgery healing and recovery in the context of Mr. Famba’s job duties.

Consequently Mr. Famba was returned to work on December 12, 2017, on a 3-month restriction

with limitation on “bending, stooping, Weight-bearing lifting”.       The restriction stated, “no

heavying lifting more than 35lbs from 12/12/17 – 3/12/18.”         Again, Mr. Famba’s superiors

refused and denied Mr. Famba the opportunity to return to work, again stating that he would not

be assigned to work until he is cleared for work without any medical restrictions.

       15.     On or about January 5, 2018, Defendant fired Mr. Famba from his job as a stocker

with Defendant. Defendant claim that Mr. Famba fail to submit a form to extend his leave.

                                       VII. COUNT I
                     (Disability Discrimination in Violation of the ADA)

       16.     Mr. Famba is disabled, as defined by the Americans with Disabilities Act (ADA).

In June 2017 Mr. Famba suffers from “Acute Cholecystitis complicated by an ileas.” This caused

him to become incapacitated, or substantially limited in one or more major life activities, until

September 2017. Additionally, Mr. Famba was perceived to be a disabled person by Defendant.

However, Mr. Famba is otherwise qualified to perform the essential functions of his job as a

stocker.

       17.     Mr. Famba is an employee within the meaning of the ADA.

       18.     Defendant violated the ADA by intentionally discriminating against plaintiff on the

basis of his disability or perceived. Defendant treated similarly situated employees more favorable

that Plaintiff, by allowing similarly situate employees, without a disability, reasonable work

accommodations.

       19.     As a direct and proximate result of Defendant’s acts and/or omissions, Mr. Famba

lost wages and benefits, and suffered damages at the hands of Defendant, including, but not limited

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to, humiliation, embarrassment, and unnecessary stress and anxiety, emotional distress, and mental

anguish, for which Defendant is required by law to provide a remedy.

                                        VIII. COUNT TWO
                          (Failure to Accommodate in Violation of the ADA)

        20.     Mr. Famba incorporates all preceding and following paragraphs hereto, as though

fully set forth herein.

        21.     Defendant discriminated against Mr. Famba by failing to provide Mr. Famba a light

duty assignment each time Mr. Famba was medically cleared to return to work with a request for

light duty for a limited time period. With the reasonable accommodations Mr. Famba could have

performed the essential functions of his job. Defendant however refused to consider any reasonable

accommodation. This also denied Plaintiff and his doctor the opportunity to assess Plaintiff’s

recovery during employment.

        22.     Mr. Famba’s medical documentation shows that Mr. Famba, at all times pertinent

hereto, was qualified to perform the essential functions of his job with or without the reasonable

accommodation(s).

        23.     As a direct and proximate result of Defendant’s acts and/or omissions, Mr. Famba

lost wages and benefits as well suffered damages, but not limited to, humiliation, embarrassment,

and unnecessary stress and anxiety, emotional distress, and mental anguish, for which the

Defendant is required by law to provide a remedy.

                                       IX.    COUNT THREE
                          (Disability Discrimination in Violation of Title 20)

        24.     Mr. Famba incorporates all preceding and following paragraphs hereto, as though

fully set forth herein.




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        25.     Defendant violated Title 20 by intentionally discriminating against plaintiff on the

basis of his disability. Defendant’s discriminatory acts include the termination of Mr. Famba’s

employment on January 5, 2018.

        26.     As a direct and proximate result of Defendant’s acts and/or omissions, Mr. Famba

lost wages and benefits as well as suffered damages including, but not limited to, humiliation,

embarrassment, and unnecessary stress and anxiety, emotional distress, and mental anguish, for

which the Defendant is required by law to provide a remedy.

                                   X.     COUNT FOUR
           (Failure to Provide Reasonable Accommodation in Violation of Title 20)

        27.     Mr. Famba incorporates all preceding and following paragraphs hereto, as though

fully set forth herein.

        28.     Defendant violated Title 20 by failing to provide reasonable accommodation of

allowing Mr. Famba to perform light duties for a limited period post-surgery. However, Defendant

did not make these accommodations for Mr. Famba, when such reasonable accommodations would

not cause financial or undue hardship on the Defendant.

        29.     As a direct and proximate result of Defendant’s acts and/or omissions, Mr. Famba

lost wages and benefits as well as suffered damages including, but not limited to, humiliation,

embarrassment, and unnecessary stress and anxiety, emotional distress, and mental anguish, for

which the Defendant is required by law to provide a remedy.

                                 XI.    PRAYER FOR RELIEF

        WHEREFORE, Mr. Famba prays that this court enter judgment in Mr. Famba’s favor and

grant Mr. Famba the maximum relief allowed by law, including, but not limited to:

        (a) compensatory damages of Three Hundred Thousand Dollars ($500,000.00);

        (b) back pay and front pay;

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(c) punitive damages against Defendant;

(d) a declaration that Defendant’s actions violated Title 20 of the ADA; and

(e) attorney’s fees, costs both pre-judgment and post-judgment interest, and any such

    other relief as are just and equitable under the circumstances.


                              XII.    JURY DEMAND

Plaintiff requests a trial by jury on all issues and counts stated herein.




                                Respectfully Submitted,

                                By:

                                /s/ George Rose
                                __________________________
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